                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TENNESSEE
                                    AT GREENVILLE

 MARK A. SCOTT and PAUL E. SCOTT                       )
       Plaintiffs,                                     )
                                                       )
                                                       )       CASE NO. 2:08-cv-296
                                                       )
 v.                                                    )       Greer/Carter
                                                       )
 REGIONS BANK, et al.,                                 )
       Defendants.                                     )

                              REPORT AND RECOMMENDATION

                                            I. Introduction

        Defendant Regions Bank’s motion to dismiss or strike Andrea LaFollette’s cross-claim

 against Region’s Bank [Doc. 127] is pending before the undersigned Magistrate Judge having

 been referred for a report and recommendation by the District Court pursuant to 28 U.S.C. §

 636(b)(1)(B) and (C). For the reasons stated herein, it is RECOMMENDED that Regions

 Bank’s motion to dismiss Andrea LaFollette’s cross-claim against it be GRANTED.

                                            II. Background

        The undersigned will give a very brief rendition of the allegations in this action as they

 apply to this motion.1 This action arises from a dispute over life insurance proceeds from

 policies administered by Metropolitan Life Insurance Company (MetLife). Plaintiffs allege they

 are entitled to the proceeds of the policies which were issued on the life of their father, Herbert

 Scott. Plaintiffs are the children of Herbert Scott and his first wife, Sarah Oneida Covington


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         For a more complete recitation of the allegations in this complaint, see the undersigned’s
 January 26, 2010 Report and Recommendation [Doc. 149] and the undersigned’s January 28,
 2010 Report and Recommendation [Doc. 150].

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 Scott, who died in 1983. In 1984, Herbert Scott married Helen Scott. Andrea LaFollette is the

 daughter of Helen Scott and the step-daughter of Herbert Scott. Plaintiffs allege the following in

 their Amended Complaint: After the death of their father in 2006, the life insurance proceeds

 from the MetLife policies should have been paid by MetLife into a trust established by their

 father in 1973 (the Trust). Regions Bank is the trustee of the Trust. Plaintiffs are the

 beneficiaries of the Trust and therefore should have received the proceeds from the MetLife

 policies. Instead, Helen Scott and her daughter, Andrea LaFollette, “caused” a Regions Bank

 official to write a letter stating Regions Bank had no interest in the proceeds from the MetLife

 policies and, as a result, MetLife paid the proceeds to Helen Scott.

        In Helen Scott’s Amended Cross-Claim against Regions Bank, Helen Scott alleges that

 she contacted Regions Bank or its predecessor-in-interest, AmSouth Bank, “who informed her

 that the Scott Trust was never properly funded, that the trust was therefore not in existence, and

 that Regions, or its predecessor, had no interest in the [life insurance] proceeds.” (Amended

 Cross Claim ¶ 9). Helen Scott further alleges that she asked Edward Jones Investments (Edward

 Jones), the financial institution where she would invest the funds, whether they could verify that

 she was the rightful recipient of the funds. Id. at ¶ 10. After some inquiry by Edward Jones, an

 AmSouth Bank employee faxed a letter to Edward Jones disclaiming the life insurance proceeds.

 Id. Satisfied she was the rightful recipient, Helen Scott invested the proceeds with Edward

 Jones. Id. Helen Scott asserts claims of negligent misrepresentation, fraudulent

 misrepresentation, and negligent infliction of emotional distress against Regions Bank. She

 seeks compensatory damages, punitive damages, prejudgment interest and attorney’s fees.




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        On May 5, 2009, Andrea LaFollette filed her answer [Doc. 116] to the Plaintiffs’

 Amended Complaint. Included in her answer is the cross-claim against Regions Bank. See Doc.

 116 p. 8. LoFollette’s cross-claim against Regions Bank states in its entirety, “”[h]aving fully

 answered, Defendant LaFollette joins and hereby incorporates Defendant Helen Scott’s Amended

 Cross Claim against Regions Bank previously filed in this cause.” Id.

                                             III. Analysis

        Regions Bank moves to dismiss Andrea LaFollette’s cross-claim against it for, inter alia,

 failure to state a claim for which relief can be granted pursuant to Fed. R. Civ. P. 12(b)(6). A

 motion to dismiss brought pursuant to Fed. R. Civ. P. 12(b)(6) is meant to test the sufficiency of

 the complaint; it does not resolve the facts of the case. Thielen v. GMAC Mortg. Corp.,

 __F.Supp.2d__, 2009 WL 4432584 *2 (E.D. Mich. Dec. 2, 2009); Cox v. Shelby State

 Community College, 48 Fed. Appx. 500, 503 (6th Cir. Sept. 24, 2002) (unpublished); Metz v.

 Supreme Court of Ohio, 46 Fed. Appx. 228, 233 (6th Cir. Aug. 19, 2002). In determining

 whether a party has set forth a claim in his complaint for which relief can be granted, all well-

 pleaded factual allegations contained in the complaint must be accepted as true. Erickson v.

 Pardus, 551 U.S. 89, 94 (2007) (per curiam). Further, the complaint must also state “a plausible

 claim.” Ashcroft v. Iqbal, __ U.S. __, 129 S.Ct. 1937, 1950 (May 18, 2009). Well-pleaded facts

 that permit the court to infer no more than a mere possibility of misconduct will not permit a

 complaint to survive a motion to dismiss. Id.

        LaFollette’s cross-claim against Regions Bank consists entirely of the incorporated cross-

 claim of Helen Scott against Regions Bank. Helen Scott’s cross-claim against Regions Bank

 does not mention LaFollette even once. It is not the Court’s duty to insert Andrea LaFollette


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 into Helen Scott’s cross-claim. The undersigned concludes that LaFollette’s cross-claim fails to

 state a claim on behalf of LaFollette against Regions Bank for which relief can be granted.

                                          IV. Conclusion

        For the reasons stated herein, it is RECOMMENDED Regions Bank’s motion to dismiss

 [Doc. 127] Andrea LaFollette’s cross-claim be GRANTED.2

        ENTER.

        Dated: February 1, 2010               s/William B. Mitchell Carter
                                              UNITED STATES MAGISTRATE JUDGE




        2
          Any objections to this Report and Recommendation must be served and filed within
 fourteen (14) days after service of a copy of this recommended disposition on the objecting party.
 Such objections must conform to the requirements of Rule 72(b) of the Federal Rules of Civil
 Procedure. Failure to file objections within the time specified waives the right to appeal the
 District Court’s order. Thomas v. Arn, 474 U.S. 140, 88 L.Ed.2d 435, 106 S. Ct. 466 (1985).
 The district court need not provide de novo review where objections to this report and
 recommendation are frivolous, conclusive or general. Mira v. Marshall, 806 F.2d 636 (6th Cir.
 1986). Only specific objections are reserved for appellate review. Smith v. Detroit Federation of
 Teachers, 829 F.2d 1370 (6th Cir. 1987).

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